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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

In the Matter of the Extradition of             :
                                                :
PIOTR JAN GRABOWSKI                             :       Case No. 3:20-mc-00068 (WIG)
   a/k/a “Walerek”                              :
                                                :       December 8, 2020
                                                :

          REPLY MEMORANDUM OF LAW IN SUPPORT OF EXTRADITION

        The Government respectfully submits this Reply Memorandum to address briefly

arguments made in Piotr Jan Grabowski’s Memorandum of Law in Opposition of Extradition (the

“Grabowski Brief”). The Government here does not address every point asserted in the Grabowski

Brief; those points that are not addressed below have been sufficiently addressed in the

Government’s opening brief.

I.      The Polish Judgment Establishes that the Polish Trial Court Discredited the Victim’s
        Recantation and Convicted Grabowski, Thereby Establishing Probable Cause to
        Certify Extradition

        Pursuant to 18 U.S.C. § 3184, the judicial officer’s inquiry is confined to whether (1) the

judicial officer is authorized to conduct the extradition proceeding; (2) the Court has jurisdiction

over the fugitive; (3) the applicable extradition treaty is in full force and effect; (4) the crimes for

which surrender is requested are covered by the treaty; and (5) there is sufficient evidence to

support a finding of probable cause as to the charges for which extradition is sought. See id.;

Fernandez v. Phillips, 268 U.S. 311, 312 (1925); see also Skaftouros v. United States, 667 F.3d

144, 154–55 (2d Cir. 2011). “If the judicial officer answers these questions in the affirmative, he

or she ‘shall certify’ the extraditability of the fugitive to the Secretary of State.” Cheung v. United

States, 213 F.3d 82, 88 (2d Cir. 2000) (quoting 18 U.S.C. § 3184).
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            The Grabowski Brief challenges only the fifth criterion: whether the evidence supports a

finding of probable cause. 1 See Grabowski Br. at 5–7. Critically, Grabowski is not being sought

to stand charges; rather, he has been convicted in Poland after a trial for which he was present. As

such, the Polish judgment of conviction, which Poland’s extradition request includes, is definitive

evidence of probable cause under binding Second Circuit precedent. Yet, the Grabowski Brief

fails to address this precedent.

            The Second Circuit has been unequivocal that probable cause is established in cases where

a fugitive’s

            convictions were obtained following a trial at which [the fugitive] was present and
            represented by counsel. To hold that such convictions do not constitute probable
            cause in the United States would require United States judicial officers to review
            trial records and, consequently, substitute their judgment for that of foreign judges
            and juries. Such an inquiry would be inconsistent with principles of comity.

Spatola v. United States, 925 F.2d 615, 618 (2d Cir. 1991) (holding that “a certified copy of a

foreign conviction, obtained following a trial at which the defendant was present, is sufficient to

sustain a judicial officer’s determination that probable cause exists to extradite.”).

            The Grabowski Brief, in asserting that the victim’s recantation somehow negates probable

cause, ignores that, as the Polish judgment reflects, the Polish trial court heard and discredited the

victim’s recantation. 2 In arguing that the recantation negates probable cause, Grabowski is asking

this Court to make a credibility determination: whether to believe the recantation or the original

statements. Worse, in this case, Grabowski is asking a U.S. extradition court to stand in the shoes



1
    In doing so, Grabowski is, presumably, conceding that the other elements to certify extradition are satisfied.
2
 Previous briefing has sufficiently addressed the inadmissibility of the affidavit Grabowski submits because
Grabowski proffers it to contradict Poland’s submissions and assert his innocence, not to explain Poland’s
submissions or to challenge their competence. For this reason, the Government will not address the inadmissibility
of the affidavit in this Reply Memorandum while maintaining its objection to its admission.
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of the foreign trial court and reject the credibility determinations made by the foreign trial court.

U.S. extradition courts properly put recantation evidence aside where they cannot assess the

credibility of the recantation without conducting a trial. See, e.g., Eain v. Wilkes, 641 F.2d 504,

511–12 (7th Cir. 1981) (“An accused in an extradition hearing has no right to contradict the

demanding country’s proof or to pose questions of credibility as in an ordinary trial, but only to

offer evidence which explains or clarifies that proof.        To do otherwise would convert the

extradition into a full-scale trial, which it is not to be. . .. [R]ecantations are matters to be

considered at the trial, not the extradition hearing.”) (citing Shapiro v. Ferrandina, 478 F.2d 894,

905 (2d Cir. 1973)); see also United States v. Pena-Bencosme, No. 05-MJ-1518 (SMG), 2007 WL

3231978, at *6 (E.D.N.Y. Oct. 30, 2007). The existence of evidence “contradicting or calling into

question the requesting state’s primary evidence ordinarily has no import as it does not vitiate or

obliterate probable cause, but rather merely ‘pose[s] a conflict of credibility’” that a U.S.

extradition court is not positioned to adjudicate. In re Pena-Bencosme, 341 F. App’x 681, 683 (2d

Cir. 2009) (quoting Shapiro, 478 F.2d at 905).

       The record reflects that the Polish court was aware of the victim’s recantation, which it

fully considered it and determined was not credible. The Polish court reviewed a wide range of

evidence, heard from live witnesses, and stood in a far better position to make the necessary

credibility determinations. As the Second Circuit has advised, this extradition Court should not

attempt to conduct a new trial or substitute its judgment for that of the Polish court. See Spatola,

925 F.2d at 618. Comity requires that this Court find that the “certified copy of a foreign

conviction, obtained following a trial at which the defendant was present, is sufficient to” establish

that probable cause exists to extradite. Id.


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       The cases Grabowski cites are inapposite. In the Contreras matter, the only evidence

supporting probable cause was confessions, which were alleged to have been coerced and recanted

at the first opportunity at a judicial hearing. See In re Extradition of Contreras, 800 F. Supp. 1462,

1465 (S.D. Tex. 1992). The Contreras court made clear that its rule was limited to a situation

where the inculpatory statement was the only evidence supporting probable cause, the inculpating

“prior statement is shown to be coerced and the indicia of reliability is on the recantation.” Id. at

1469. The other case cited is similarly one where the recantation “negates the only evidence of

probable cause. . . [and where] the substance and circumstances of the recantation indicate that it

has more indicia of reliability than the original accusations.” Republic of France v. Moghadam,

617 F. Supp. 777, 783 (N.D. Cal. 1985) (emphasis added).

       Here, in contrast, Poland has submitted extensive evidence supporting probable cause

beyond the victim’s original inculpating statements and her trial accusation. (Doc. No. 1-2 at 52–

65). Moreover, the trial court, which convicted Grabowski, was fully aware of her recantation and

addressed the recantation in its decision. See, e.g., id. at 55 (noting that the victim’s statement to

withdraw her motion for criminal prosecution was the result of prompting by the Grabowski

family), 57 (noting that “[i]t is also an essential fact in the case that Piotr Grabowski’s family gave

[the victim] a certain amount of money, which was supposed to financially gratify the harm that

had been suffered by her”), 58 (noting that despite “present[ing] the description of events that was

very advantageous to Piotr Grabowski . . . . [and] attempts to make the defendant not liable for the

crime, [the victim] consequently testified that she had been dragged to the house by two

perpetrators”), 59 (noting that the victim’s “testimony that was given during the investigation

deserves to be fully trusted, corresponds to the evidence gathered in this case”); 60 (rejecting parts


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of the victim’s trial testimony as “not logical” and “contrary to the collected evidence as well as

contrary to the defendant’s accounts”), 60 (calling arguments that the victim was “in a state of

shock” and “afraid of the Prosecutor” “totally unconvincing”). Thus, it determined that the

victim’s original statements to the Polish police had more indicia of reliability than the recantation.

Moreover, as previously discussed, the Polish trial court cited additional evidence of Grabowski’s

guilt beyond the victim’s statements to the police. All of these findings in the Polish judgment

against Grabowski – rather than a single accusation as in Contreras – establish probable cause to

believe that Grabowski committed the offenses for which Poland seeks extradition.

       The evidence Poland has submitted fulfills the relevant Treaty requirements. The Court

must therefore “certify the same” to the Secretary of State, who will then decide whether to

surrender the fugitive. 18 U.S.C. § 3184.

II.    Considerations Beyond Those Enumerated in 18 U.S.C. § 3184 Are for the Secretary
       of State, Not This Court, To Consider

       Under 18 U.S.C § 3184, if a judge, “deems the evidence sufficient to sustain the charge

under the provisions of the proper treaty or convention,” then “he shall certify the same.”

(emphasis added). The statute does not provide discretion for the judge to consider factors beyond

the five that both parties have enumerated. See id.; Fernandez v. Phillips, 268 U.S. 311, 312

(1925); see also Skaftouros v. United States, 667 F.3d 144, 154–55 (2d Cir. 2011).

       Grabowski, however, argues that this Court should consider concerns that certain European

courts allegedly have expressed, in cases unrelated to this one, regarding the fairness, potential

bias, and independence of Polish courts. See Grabowski Br. at 7–9. Such considerations –

although they may be permitted under various European legal regimes – would contravene the

language of the U.S. extradition statute, which does not provide such discretion; instead, 18 U.S.C.

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§ 3184 commands judges to certify a fugitive as extraditable where specific standards are met.

Moreover, such inquiry would run afoul of the well-established rule of non-inquiry, pursuant to

which the any concerns a fugitive may have about the integrity of the Polish judicial system, or

treatment he may receive abroad if eventually extradited, are within the sole province of the

executive branch – specifically, for the Secretary of State to consider.

       Critically, the certification of a fugitive as extraditable does not conclude the process. After

the Court completes its “limited inquiry, the Secretary of State conducts an independent review of

the case to determine whether to issue a warrant of surrender.”            Martin v. Warden, Atlanta

Penitentiary, 993 F.2d 824, 829 (11th Cir. 1993). “The Secretary exercises broad discretion and

may properly consider myriad factors affecting both the individual [fugitive] as well as foreign

relations, which the extradition magistrate may not.” Id. Such discretion is properly placed in the

Secretary of State who is in a much better position to evaluate the various judicial systems around

the world and to weigh the impact on U.S. foreign relations of refusing extradition on the grounds

that a country’s judicial system is deficient.




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III.   CONCLUSION

       For the foregoing reasons, the government respectfully requests the certification of

Grabowski as extraditable to Poland on the charges of rape and participating in a brawl or beating

leading to injury.



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